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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

GeLab Cosmetics LLC,

                       Plaintiff,                CASE NO. 22-cv-05475

       v.                                        Judge: Thomas M. Durkin

Zhuhai Aobo Cosmetics Co.,Ltd,                   Magistrate Judge: Susan E. Cox
Zhuhai Shengjieer Cosmetics Co., Ltd,
Zhuhai Zhengjia Trading Co., Ltd,
Pingjun Li,
Ximei Peng, and,
Benhong Li,


                       Defendants.


                   PLAINTIFF’S MOTION FOR LIMITED DISCOVERY


       Per Honorable Judge Durkin’s Individual Practice, the parties have conferred prior to the

filling of this motion. However, an agreement cannot be reached regarding the briefing schedule.

Plaintiff’s proposed schedule is as follows:

       Defendants may have 7 days to respond and Plaintiff will have 3 days to file its reply.

Defendants’ agreed schedule is as follows:

       Defendants may have 14 days to respond and Plaintiff will have 3 days to file its reply.

       If the Court determines a hearing is necessary, Plaintiff respectfully requests an in-person

hearing.

                                        I. INTRODUCTION

       Plaintiff GeLab Cosmetics LLC (“Plaintiff” or “GeLab”), by and through the undersigned

counsel, hereby submit this Motion for Limited Discovery. Plaintiff requests leave to conduct

limited discovery in advance of a formal discovery conference under Fed. R. Civ. P 26(f). As
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outlined in greater detail below, this limited discovery is necessary for the Plaintiff to know the full

extent of Defendants’ misappropriation and ongoing use of Plaintiff’s trade secrets.

       While Plaintiff has performed its own evidence gathering through various channels,

Defendants have additional information regarding their possession and use of the confidential

documents and other trade secrets. Defendants also possess critical information concerning its

disclosure and use of Plaintiff’s trade secrets, including in connection with its testing, improvement,

and development of competing products and in connection with poaching Plaintiff’s customers,

suppliers, and market. Such information will further support Plaintiff’s forthcoming request for a

preliminary injunction. Without a expedited discovery, those evidence could be destroyed.

Accordingly, expedited discovery will help to further elucidate the full extent of Defendants’ trade

secret misappropriation.

                                      II. LEGAL STANDARD

       The Federal Rules of Civil Procedure explicitly provide that a court may order discovery to

proceed on an expedited basis. See Fed. R. Civ. P. 26(d), 33(a) and 34(b). “Courts apply a ‘good

cause’ standard in considering motions to expedite discovery.” Hard Drive Prods., Inc. v. Doe, 283

F.R.D. 409, 410 (N.D. Ill. 2012) (quoting Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D.

273, 276 (N.D. Cal. 2002)). “Good cause may be found where the need for expedited discovery, in

consideration of the administration of justice, outweighs the prejudice to the responding party.” Id.

(internal quotation marks and citation omitted). “In deciding a motion for expedited discovery, the

Court evaluates ‘the entirety of the record to date and the reasonableness of the request in light of

all the surrounding circumstances.’” Id. (citation omitted).

       Additionally, expedited discovery is appropriate where further development of the record

before a preliminary injunction hearing will better enable a court to judge the parties’ interests and
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respective chances for success on the merits. Merrill Lynch, Pierce, Fenner & Smith, Inc. v.

O’Connor, 194 F.R.D. 618 (N.D. Ill. 2000); see alsoEXL Labs., LLC v. Egolf, No. CIV.A.10-6282-

RBS, 2010 WL 5000835, at *8 (E.D. Pa. Dec. 7, 2010) (granting plaintiff’s motion for expedited

discovery “concerning the scope of Defendants’ acquisition, use and disclosure of Plaintiff’s

confidential and proprietary information” based on “the pending preliminary injunction hearing,

[and] the need for discovery”); Fed. R. Civ. P. 26 Advisory Committee’s Note (1993 Amendments

to Subdivision (d)) (noting that expedited discovery may be appropriate in cases “involving

requests for a preliminary injunction.”). Here, the Court will be better equipped to decide Plaintiff’s

forthcoming motion for a preliminary injunction if Plaintiff is allowed to further develop the most

fulsome record possible regarding Defendants’ possession, disclosure, and use of Plaintiff’s trade

secrets.

           Courts in this District have granted motions for expedited discovery to determine the full

extent of misappropriation in cases involving trade secret theft. See, e.g., Mintel Int’l Grp., Ltd. v.

Neergheen, No. 08-CV-3939-RMD, 2008 WL 2782818, at *7 (N.D. Ill. July 16, 2008) (granting

expedited discovery in the form of written discovery responses and a deposition pertaining to

plaintiff’s trade secret misappropriation claim); Nobel Biocare USA, Inc. v. Lynch, No. 99 C 5774-

GWL, 1999 WL 958501, at *4 (N.D. Ill. Sept. 15, 1999) (“The court also grants plaintiff’s motion

for expedited discovery as it provides a fuller record for the court when deciding whether to issue a

preliminary injunction.”). This is in accord with courts in other districts. See, e.g., Comet Techs.

United States of Am. Inc. v. Beuerman, No. 18-CV-01441-LHK, 2018 WL 1990226, at *7 (N.D.

Cal. Mar. 15, 2018) (granting plaintiff’s motion for expedited discovery to determine the scope of

its trade secret misappropriation); Nest Int’l, Inc. v. Balzamo, No. CIV.A. 12-2087-JBS, 2012 WL

1584609, at *2 (D.N.J. May 3, 2012) (same).
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                                          III. ARGUMENT

       Here, good cause exists for expedited discovery because Plaintiff has filed an Application

for a Temporary Restraining Order (“TRO”) and will soon be filing a Motion for a Preliminary

Injunction to prevent further possession, use, and disclosure of its trade secrets by Defendants. The

narrowly tailored discovery outlined below would “provide[] a fuller record for the court when

deciding whether to issue a preliminary injunction.” Nobel Biocare, 1999 WL 958501, at *4.

Further, at this juncture, Plaintiff only requests expedited discovery into matters directly relevant to

its requests for injunctive relief. Plaintiff's discovery requests encompass only matters that will help

the parties and the Court in determining the parties’ respective chances for success on the merits.

       Specifically, Plaintiff seeks leave to conduct limited discovery to determine 1) what

products the Defendants sell or have sold on Amazon that are the same as or similar to Plaintiff’s

products; 2) when the Defendants first started selling these products; 3) whether, how and when

Defendants used any Plaintiff’s trade secret to manufacture, design, and advertise these products; 4)

to what jurisdictions Defendants sold products using Plaintiff’s trade secret; 5) how many units of

the products using Plaintiff’s trade secret were sold; 6) the scope and duration of the Defendants’

use of any Plaintiff’s trade secret to manufacture, design, and advertise these products; 7) all copies

of all documents, files, or other materials relating to Plaintiff stored in the Defendants’ computer or

other cloud storage accounts; and 8) communications relating to the Defendants’ legal

representative with Plaintiff.

       Plaintiff proposed the following expedited discovery schedule:

         DATE                                               EVENT

December 30, 2022        Preliminary Injunction discovery opens

March 30, 2023           Preliminary Injunction discovery closes((ordinary discovery rules apply to
                         subsequent discovery))
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April 6, 2023           Plaintiff files its preliminary injunction motion

April 20, 2023          Defendants file opposition to preliminary injunction motion

April 27, 2023          Plaintiff files reply in support of preliminary injunction motion

At the Court’s          Preliminary Injunction hearing/status conference
convenience

       Plaintiff also proposes that 1) the period for responding to interrogatories or producing

documents be shorten from 30 days to 15 days; 2) each side must disclose experts and complete

expert discovery during the preliminary injunction discovery period; and 3) each side will be

permitted to take Fed. R. Civ. P. 30(b)(6) and Fed. R. Civ. P. 30(b)(1) depositions, and the parties

will continue to confer regarding the total number of depositions to be conducted.

       The requested discovery is narrowly tailored to address Defendants’ acquisition of

Plaintiff’s trade secrets through improper means, and its subsequent use and disclosure of those

trade secrets at Defendants. Indeed, Plaintiff’s limited expedited discovery requests are tailored to

obtain additional evidence concerning Defendants’ possession, disclosure, and use of confidential

Plaintiff’s documents. These issues directly support Plaintiff’s arguments in support of its TRO and

forthcoming preliminary injunction motion regarding its success on the merits, the irreparable harm

it is suffering and will continue to suffer, and the scope of the injunctive relief requested. The only

purpose of Plaintiff’s requested discovery is to allow more facts directly related to its injunctive

relief requests to come to light before a hearing. Courts have found this to be a proper purpose for

expediting discovery. See, e.g., Nobel Biocare USA, 1999 WL 958501, at *4; Nest Int’l, 2012 WL

1584609, at *2.

       Further, Defendants cannot claim any real burden from the very limited discovery Plaintiff

requests. Plaintiff requests merely amount to returning the files, data, and documents that

Defendants took from Plaintiff, producing evidence concerning disclosure and use of Plaintiff’s
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trade secrets by Defendants, and identifying any Plaintiff’s customers or suppliers that Defendants

have communicated with since Defendants’ theft of Plaintiff’s trade secret. If there is any burden, it

could only be in the sheer volume of data that Defendants took from Plaintiff—which is not a valid

reason to claim burden in this instance. See, e.g., United Cent. Bank v. Kanan Fashions, Inc., No.

10-C-331-MTM, 2010 WL 775040, at *4 (N.D. Ill. Mar. 5, 2010) (denying Defendants’ motion to

vacate the court’s ordered expedited discovery, finding that the requested discovery was not unduly

burdensome). As a matter of fact, this limited discovery will help the Defendants with their case

preparation. Defendants’ attorney Ms. Zhao has expressed Defendants’ intention to seek a 60-day

extension to file an answer. Ms. Zhao also stated that she received several thousands of pages of

documents from the Defendants and she needs time to review these documents and “do some

independent investigation.”

                               IV. EXIGENT CIRCUMSTANCES

       Since Defendants misappropriated Plaintiff’s trade secrets and competes with Plaintiff in

making and selling nail polish products, Defendants need to eliminate competition and to avoid

liability from their misappropriating activities are apparent. To achieve their goal, Defendants,

conspired with Plaintiff’s member Mr. Shijian Li(“Mr. Li”), provided multiple forged documents,

false allegations and side-switching statements to this Court. They are trying to DECEIVE the

judicial system and this kind of practice is unacceptable.

       For example, Defendants provided a declaration from a witness in a case in the federal court

in the Northern District of Illinois. (ILND Case# 22-cv-02928) That declaration was later

repudiated by the declarant. See. Exhibit A. The declarant stated that “[Defendants] drafted the

statement themselves and tricked me into signing it...”, “most of which is also not my own typing,
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but is Ximei Peng typing via private chat sent to me, and then [she] asked me in person to forward

to Li Shijian.” See. Exhibit B.

        Plaintiff believes that without an expedited discovery, the Defendants, with the help of

Mr.Li, are going to forge, temper, and destroy evidence related to Defendants’ misappropriation of

Plaintiff’s trade secret.

                                        V. CONCLUSION

        For at least the foregoing reasons, there is good cause for expedited discovery and the Court

should grant Plaintiff motion for expedited discovery to allow for further development of the record.




Date: December 8, 2022                          /s/ Ruoting Men
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                                CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on this December 8, 2022, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




Date: December 8, 2022                          /s/ Ruoting Men
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